 Case
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 1   MOT
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 2   Nevada Bar No. 006914
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 3   520 S. Fourth Street, 2nd. Fl.
     Las Vegas, Nevada 89101
 4   ph: (702) 384-5563
     fax: (702) 385-6965
 5   Attorney for Defendant Antonio Randolph
 6
                                    UNITED STATES DISTRICT COURT
 7
                                        DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,           )
 9                                       )          CASE NO.: 2:16-CR-00052-GMN-CWH-3
                 Plaintiff,              )
10                                       )
     vs.                                 )
11                                       )
     REGGIE PRATT, et. al.,              )          ANTONIO RANDOLPH’S UNOPPOSED
12                                       )          MOTION TO CONDUCT A PRE-PLEA
                 Defendant.              )          PRESENTENCING INVESTIGATION
13                                       )          REPORT AND PROPOSED ORDER
     ____________________________________)
14
15
            COMES NOW, appointed counsel David T. Brown, Esq., of BROWN, BROWN &
16
     PREMSRIRUT, and hereby moves this Court in request of a Pre-Plea Pre-Sentence Investigation
17
     Report be prepared by the Probation Department.
18
            1) The calculation of Defendant Antonio Randolph’s criminal history will drastically
19
     impact his sentencing exposure, negotiations, and client’s decision as to how he should proceed.
20
     A pre-plea presentence report will promote judicial economy and aid in the manner in which this
21
     case is ultimately resolved.
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 1          2) Undersigned counsel therefore respectfully requests an Order that the Department of
 2   Probation conduct a pre-plan presentence investigation report as soon as possible.
 3          3) Undersigned counsel has spoken to the prosecutor, Assistant United States Attorney
 4   Phillip Smith regarding this request and he as no opposition.
 5
 6          DATED this 29th day of August, 2016.
 7                                                BROWN, BROWN & PREMSRIRUT
 8
                                                             /s/
 9                                                DAVID T. BROWN, ESQ.
                                                  Nevada Bar No. 006914
10                                                520 S. Fourth St.
                                                  Las Vegas, Nevada 89101
11                                                Attorney for Defendant Antonio Randolph
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     Attorney for Defendant Antonio Randolph
 5
 6                              UNITED STATES DISTRICT COURT
 7                                     DISTRICT OF NEVADA
 8   UNITED STATES OF AMERICA,           )
                                         ) CASE NO.: 2:16-CR-00052-GMN-CWH-3
 9               Plaintiff,              )
                                         )
10   vs.                                 )
                                         )
11   REGGIE PRATT, et. al.,              ) ORDER
                                         )
12               Defendant.              )
                                         )
13   ____________________________________)
14          IT IS HEREBY ORDERED that Defendant Antonio Randolph’s Unopposed Motion for a
15   Pre-Plea Sentence Investigation Report (ECF No. 91) is GRANTED.
16          IT IS FURTHER ORDERED that the United States Probation Office shall prepare and
17   provide to the Court by October 30, 2016, a Pre-Plea Presentence Investigation Report with
18   the guideline calculation requested for Defendant’s criminal history only.
19
20                                                                   29 day of August, 2016.
                                                         DATED this ___
21
22                                                       ___________________________
                                                         Gloria M. Navarro, Chief Judge
23                                                       United States District Court
24
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 1                                   CERTIFICATE OF SERVICE
 2
 3           The undersigned hereby certifies that service of the foregoing was served on the 29th day
 4   of August, 2016, via the Court’s CM/ECF electronic filing system addressed to all parties on the
 5   e-service list.
 6
 7                                                /s/ Delora M. Andrus
                                                  Employee of Brown, Brown, & Premsrirut
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